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Robert Patton, Director                                                Signature on File
Oklahoma Department of Corrections


                         Execution of Offenders Sentenced to Death
                                                                                                                      Exhibit 1
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The Oklahoma Department of Corrections (ODOC) establishes procedures for planning
and carrying out the execution of a person convicted of a capital offense and sentenced
to death. These procedures shall be followed as written unless deviation or adjustment
is required, as determined by the director of Corrections or their designee (in the event
of an absence). This procedure outlines the internal procedures and does not create
any legally enforceable rights or obligations.

I.     Definitions

       A.      Stay or Stop An Execution

               1.      Stay

                       An order by the governor or court of competent jurisdiction to
                       reprieve or suspend the execution of the judgment of death.

               2.      Stop

                       Upon order by the director, all acts congruent to an execution shall
                       immediately cease until the director orders the execution to
                       continue or a stay is ordered by the governor or court of competent
                       jurisdiction.

II.    Responsibility

       The ODOC ensures the execution of a person sentenced to death under state
       law by a court of competent authority and jurisdiction is carried out in keeping
       with statute, case law and professional practices.

       A.      The ODOC shall make every effort in the planning and preparation of an
               execution to ensure the execution process:

               1.      Faithfully adheres to constitutional mandates against cruel and
                       unusual punishment, in accordance with Article II, Section 9 of the
                       Oklahoma Constitution and the Eighth Amendment to the United
                       States Constitution;

               2.      Is handled in a manner that minimizes its impact on the safety,
                       security and operational integrity of the facility and the community
                       in which it occurs;

               3.      Accommodates the public’s right to obtain certain information
                       concerning the execution;

               4.      Reasonably addresses the privacy interests as provided by law;

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               5.      Provides contingency planning to identify and address unforeseen
                       problems;

               6.      Allows for stays of execution, commutations and other exigencies;

               7.      Provides opportunity for citizens to exercise their First Amendment
                       Rights to demonstrate for or against capital punishment in a lawful
                       manner; and

               8.      Ensures there is an appropriate response to unlawful civil
                       disobedience, trespass and other violations of the law by any
                       person attempting to impact the execution or the operation of the
                       facility.

       B.      The ODOC shall detain, seek the arrest and encourage prosecution of
               persons who:

               1.      Violate prohibitions against filming, taping, broadcasting or
                       otherwise electronically documenting the execution of the offender;

               2.      Trespass and otherwise enter upon ODOC property without
                       authorization;

               3.      Participate in unlawful demonstrations or unlawfully attempt to
                       disrupt, prevent and otherwise interfere with the execution; and

               4.      Unlawfully threaten, intimidate and otherwise attempt to influence
                       authorized persons involved in the execution process.

               These prohibitions apply to the offender population, ODOC personnel and
               members of the general public engaging or attempting to engage in
               disruptive and other prohibited behaviors.

III.   Conduct and Selection of Staff for Execution Teams

       A.      Conduct of Staff

               1.      Participating staff shall adhere to OP-110215 entitled “Rules
                       Concerning the Individual Conduct of Employees” and guided
                       principles evidenced by:

                       a.    Appropriate levels of professionalism, restraint and courtesy
                             when interacting with witnesses, demonstrators, attorneys,
                             news media, state and local law enforcement and any other
                             member of the public directly or indirectly involved with the
                             imposition of the sentence of death;
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                      b.    All assigned duties        are   performed     proficiently   and
                            professionally;

                      c.    Their ability to exercise the option to withdraw from the
                            process by the prescribed means at any time;

                      d.    Conduct that appropriately reflects the solemnity of the
                            activities in which they elect to engage and the duties they
                            choose to perform;

                      e.    Reserving public comment on any and all facets of the
                            execution; and

                      f.    Maintaining confidentiality of identifying information
                            regarding any person who participates in or performs any
                            function of an execution. As defined in Oklahoma State
                            Statute Title 22, Section 1015, “The identity of all persons
                            who participate in or administer the execution process and
                            persons who supply the drugs, medical supplies or medical
                            equipment for the execution shall be confidential and shall
                            not be subject to discovery in any civil or criminal
                            proceedings. The purchase of drugs, medical supplies or
                            medical equipment necessary to carry out the execution
                            shall not be subject to the provision of the Oklahoma Central
                            Purchasing Act.”

              2.      All team members serve on a strictly voluntary basis. At any point
                      before, during, or after an execution any team member may decline
                      to participate or participate further without additional notice and
                      explanation or repercussion.

              3.      The associate director of Field Operations shall ensure all team
                      members understand and comply with the provisions contained
                      herein.

      B.      Selection of Staff for Execution Teams


              1.      The associate director of Field Operations coordinates the activities
                      of the division managers of East and West Institutions and the
                      wardens of Oklahoma State Penitentiary (OSP) and Mabel Bassett
                      Correctional Center (MBCC) in activating the Execution Teams.


                                                                                     Exhibit 1
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               2.      The OSP and MBCC wardens shall review the current teams’
                       rosters and recommend retention and replacement of staff and
                       alternates to the division manager of West Institutions.

               3.      The division manager of West Institutions shall evaluate the teams’
                       composition and the wardens’ recommendations to the director.

               4.      In the selection and retention of any staff for the teams, the division
                       manager for West Institutions shall consider:

                       a.     Employees suspended or demoted in the past 12 months or
                              currently under investigation shall not be selected;

                       b.     Special consideration may be given to staff with pertinent
                              specialized training and qualifications;

                       c.     Staff shall only be assigned to one team in the overall
                              execution process;

                       d.     Staff serving on any team shall not be related to the offender
                              by blood or marriage or have any other legal relationship
                              with the offender, the offender’s family or the crime
                              victims(s); and

                       e.     Staff participation in the execution process is strictly
                              voluntary. ODOC staff is not required to attend or participate
                              in an execution.

               5.      Any staff volunteers may withdraw from performing their assigned
                       duties specific to the execution at any time by advising their team
                       leader, advising a team member or advising their immediate chain
                       of command.

IV.    Execution Teams

       A.      Command Team

               1.      Provides overall coordination of execution procedures.

               2.      Consists of a minimum of three team members:

                       a.     Commander (division manager of East Institutions);

                       b.     Recorder;

                       c.     Telephone operator; and

                                                                                      Exhibit 1
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                      d.     Others as necessary.

              3.      The commander is selected by the director.

              4.      All other team members are selected by the division manager of
                      East Institutions with the documented approval of the director.

      B.      H Unit Section Teams

              1.      The H Unit Section chief shall coordinate the activities of the H Unit
                      Section Teams to ensure compliance with conditions of
                      confinement and application of approved procedures.

              2.      The director shall select the H Unit Section chief.

              3.      The H Unit Section Teams shall be comprised of the Restraint
                      Team and the Special Operations Team.

                      a.     Restraint Team

                             (1)    Provides continuous observation of the offender on
                                    the day of the execution and applies appropriate
                                    restraint procedures and offender management prior
                                    to, during, and after the execution.

                             (2)    Consists of one team leader and six team members
                                    divided into two teams.

                             (3)    The division manager of West Institutions shall select
                                    the team leader with the documented approval of the
                                    director.

                             (4)    Team members are selected by the warden of OSP
                                    with the documented approval of the director.

                      b.     Special Operations Team

                             (1)    Implements the protocols associated with the
                                    administration of the chemicals for the execution
                                    (Attachment D, attached).

                             (2)    Consists of a minimum of five team members:

                                    (a)    Team leader;

                                    (b)    Recorder; and

                                    (c)    Three additional team members.
                                                                                     Exhibit 1
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                            (3)    The team members and team leader are selected by
                                   the division manager of West Institutions with the
                                   documented approval of the director.

                            (4)    The team leader shall designate functions of the team
                                   members.

      C.      Intravenous (IV) Team

              1.      The IV Team shall consist of a team leader and member(s) of any
                      one or more of the following:

                      a.    Physician(s).

                      b.    Physician assistant(s).

                      c.    Nurse(s).

                      d.    Emergency medical technician(s) (EMT).

                      e.    Paramedic(s).

                      f.    Military corpsman or other certified or licensed personnel
                            including those trained in the United States military.

              2.      The team leader and member(s) shall be currently certified or
                      licensed within the United States.

              3.      The team leader and member(s) shall be selected by the director.

                      a.    Selection of any team member shall include a review of the
                            proposed team member’s qualifications, training, experience,
                            and/or any professional license(s) and certification(s) they
                            may hold.

                      b.    Licensing and criminal history reviews shall be conducted by
                            the inspector general’s office prior to assigning or retaining
                            any team member and upon the issuance of an Order
                            Setting Execution Date.

              4.      The division manager of West Institutions shall ensure the team
                      leader and member(s) thoroughly understand all provisions
                      contained herein as written and by practice.

              5.      Documentation of team members’ qualifications, including training
                      of the team members, shall be maintained by the director or his
                      designee.
                                                                                   Exhibit 1
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              6.      All information pertaining to the selection and review of the IV Team
                      members shall remain confidential in accordance with O.S. 22
                      Section 1015 of Oklahoma State Statute.

      D.      Maintenance Response Team

              1.      Tests all H Unit equipment utilized to impose the sentence of death
                      and ensures electrical, plumbing, heating and air conditioning units
                      are in working order.

              2.      Consists of one team leader and three team members.

              3.      The team leader and members are selected by the warden of OSP.

              4.      Reports to the Command Team.

      E.      Critical Incident Management Team (CIMT)

              1.      Educates affected staff at all levels in the ODOC prior to, during,
                      and after the execution regarding possible psychological responses
                      and effective coping mechanisms as well as provides ongoing
                      follow-up contact to staff.

              2.      Consists of one team leader and three team members.

                      a.    The team leader is the Employee Assistance Program
                            coordinator or designee.

                      b.    Team members are CIMT responders and are selected by
                            the Employee Assistance Program coordinator.

              3.      Reports to the Command Team.

      F.      Traffic Control Team


              1.      Supervises the movement of people and vehicles into and out of
                      the facility before, during, and after the execution.

              2.      Consists of one team leader and eight team members.

              3.      Team members and the team leader are selected by the warden of
                      OSP.

              4.      Reports to the Command Team.

      G.      Witness Escort Teams

                                                                                    Exhibit 1
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               1.      Coordinates the movement of all pre-approved witnesses on and
                       off facility grounds and within its perimeter.

                       a.    One (1) Witness Escort Team is assigned to escort and
                             assist each group of pre-approved officials, victims, news
                             media and offender family witnesses.

                       b.    Witness Escort Team members shall always remain with
                             witnesses within established areas.

               2.      Consists of one team leader and eight team members divided into
                       four teams.

               3.      Team members and the team leader are selected by the warden of
                       OSP.

               4.      Reports to the Command Team.

       H.      Victim Services Team

               1.      Ensures victims of the crime that resulted in the imposition of death
                       are informed of the execution date and their opportunity to witness
                       the execution.

                       a.    The team explains the execution process.

                       b.    If the victim is interested in attending, the team submits the
                             victim’s name(s) for consideration to the director.

               2.      Consists of one team leader and one team member.

               3.      The team leader is the victim services coordinator.

               4.      The team member is selected by the victim services coordinator.

               5.      Reports to the Witness Escort Team leader.

V.     Training

       The agency will establish protocols and training to enable staff to function in a
       safe, effective and professional manner before, during and after an execution.

       A.      The division manager of West Institutions shall establish a training
               schedule and identify dates for periodic on-site practice by the H Unit
               Section Teams, to include ten training scenarios within the 12 months
               preceding the scheduled execution. Multiple training scenarios can be

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              accomplished on the same date, including but not limited to contingency
              plans for:

              1.       Issues with execution equipment or supplies;

              2.       Issues with offender IV access, including obtaining alternate IV
                       access site(s);

              3.       Issues if offender is not rendered unconscious after administration
                       of execution chemicals;

              4.       Unanticipated medical or other issues concerning the offender or
                       an execution team member; and

              5.       Issues regarding order, security or facilities at OSP.

       B.     The H Unit Section Team shall initiate training sessions no less than once
              per week until the scheduled date of execution beginning 35 days prior to
              the execution date.

       C.     The H Unit Section Team shall conduct a minimum of two training
              sessions with multiple scenarios within two days prior to the scheduled
              execution.

       D.     The IV Team members shall participate in at least one training session
              with multiple scenarios, within seven days prior to the scheduled
              execution.

       E.     The Command Team leader shall conduct training of the following team
              members approximately seven days prior to the execution date.

              1.       Witness Escort Team

              2.       Maintenance Response Team

              3.       Critical Incident Management Team

              4.       Traffic Control Team

              5.       Victim Services Team

VI.    Selection of Execution Witnesses

       A.     ODOC Staff Witnesses

              The following staff shall be present at the execution:

              1.       Director or designee.
                                                                                      Exhibit 1
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              2.      H Unit Section chief.

              3.      Other necessary correctional officials.

      B.      Law Enforcement Witnesses

              The following persons may be present at the execution:

              1.      State Attorney General or designee.

              2.      Cabinet Secretary of Public Safety or designee.

              3.      Judge who presided during the trial.

              4.      Chief of police of the municipality in which the crime occurred.

              5.      District attorney or designee of the county of conviction.

              6.      Sheriff of the county of conviction.

              7.      Lead law enforcement officials from agencies that investigated the
                      crime or testified in court or clemency proceedings related to the
                      crime.

              8.      In the event the defendant has been sentenced to death in one or
                      more criminal proceedings in this state, or has been sentenced to
                      death in this state and by one or more courts of competent
                      jurisdiction in another state (or pursuant to federal authority), or any
                      combination thereof, and this state has priority to execute the
                      defendant, the general counsel must invite the district attorney, the
                      judge and the chief law enforcement official from each jurisdiction
                      where any death sentence has been issued. The above mentioned
                      officials shall be allowed to witness the execution or view the
                      execution by closed circuit television as determined by the director.

              9.      The law enforcement witnesses authorized to be present at the
                      execution shall receive a two-week prior written notice of the
                      scheduled execution per Attachment A entitled “Notification Letter
                      to Dignitaries/Law Enforcement (sample)” (attached).

      C.      Victim and Offender Witnesses

              1.      Victim and Offender witnesses may be subject to a criminal records
                      check which will be conducted using the “Oklahoma Department of
                      Corrections Request for Record” (DOC 090211B).

                                                                                     Exhibit 1
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             2.       The division manager of West Institutions shall prioritize persons to
                      view the execution, including: surviving victims; offender’s
                      immediate family members; individuals who served a close
                      supporting role or professional role to the offender including, but not
                      limited to, a minister or licensed counselor. The warden of OSP
                      may set a limit on the number of viewers within occupancy limits.

             3.       The victim and offender witnesses authorized to be present at the
                      execution shall receive a two-week prior written notice of the
                      scheduled execution per Attachment B entitled “Notification Letter
                      to Offender Witnesses (sample)” (attached).

                      a.     Victim Witnesses

                             (1)    Any surviving victim of the offender who is 18 years of
                                    age or older may view the execution if approved by
                                    the general counsel and the warden of OSP.

                             (2)    As used in this section, ‘surviving victim’ means any
                                    immediate family member of the deceased victim
                                    who, as a direct result of the crime, suffered serious
                                    harm or injury due to the criminal acts of the offender
                                    of which the offender has been convicted in a court of
                                    competent jurisdiction.

                             (3)    Immediate family is defined as the spouse, child by
                                    birth or adoption, stepchild, parent by birth or
                                    adoption, stepparent, grandparent, grandchild, sibling
                                    or stepsibling of each deceased victim or the spouse
                                    of any immediate family member specified in this
                                    section.

                             (4)    Any surviving victim approved to view the execution of
                                    the offender may request to have an accompanying
                                    support person who serves a close supporting role or
                                    professional role to the deceased victim or an
                                    immediate family member, including, but not limited
                                    to, a minister or licensed counselor. The warden of
                                    OSP and the director shall approve or disapprove
                                    such requests.

                             (5)    A representative from the Attorney General’s Victim
                                    Services Unit and the ODOC Victim Services team

                                                                                     Exhibit 1
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                                   coordinator or designee shall be allowed to attend the
                                   execution.

                      b.    Offender Witnesses

                            (1)    Witnesses may include five persons, relatives or
                                   friends, and two qualified ministers who are 18 years
                                   of age or older, as selected by the offender and
                                   approved by the general counsel and the warden of
                                   OSP. If the offender is female, approval shall be
                                   received by the warden of MBCC in conjunction with
                                   the warden of OSP.

              4.      All witnesses shall be provided a summary detailing the execution
                      process which shall include what to expect and rules of conduct
                      throughout the execution.

      D.      News Media Witnesses

              1.      News media witness selection is contingent upon adherence to the
                      provisions stipulated in the “News Media Statement After an
                      Execution” (Attachment E, attached).

              2.      No more than five members of the news media may be selected to
                      witness the execution. First preference will be given to a local
                      media representative in the market where the crime was committed
                      and to the associated press.

              3.      News media witnesses shall be held to the same standards for
                      conduct as are all other official witnesses.

              4.      All witnesses shall be provided a written summary detailing the
                      execution process which shall include what to expect and rules of
                      conduct throughout the execution.

              5.      The Command Team may exclude any news media witness at any
                      time if the media witness fails to abide by the provisions of this
                      procedure.

                      a.    News media witnesses are not permitted to bring
                            unauthorized items into H Unit. Examples of unauthorized
                            items include:

                            (1)    Any electronic or mechanical recording device;

                            (2)    Still, moving picture, or video tape camera;
                                                                                   Exhibit 1
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                              (3)    Tape recorders or similar devices; and

                              (4)    Radio/television broadcasting devices.

                       b.     Each news media witness shall be provided a tablet of paper
                              and a pencil for taking notes once they have completed
                              security screening.

                       c.     News media not selected to witness the execution shall
                              remain in the designated Media Room during the execution.

       E.       Persons Excluded from the Execution Process

                1.     The correctional officers, case manager and medical staff who
                       attended to the offender while in isolation shall not participate in the
                       execution process.

                2.     Minors shall not be permitted to witness an execution.

                3.     The director shall retain full discretion as to the selection of, and
                       any change in, the witnesses selected for each scheduled
                       execution.

VII.   Timeline of Events for Executions

       A.       Receipt of Order Setting Execution Date

                Upon receipt of the Order Setting Execution Date, the following staff shall
                initiate the protocols below.

                1.     General Counsel’s Office

                       a.     Notify the director and associate director of Field Operations.

                       b.     Notify the division manager of West Institutions, the warden
                              of OSP and, if a female offender, the warden of MBCC.

                       c.     Forward the original Order Setting Execution Date to the
                              warden of OSP or MBCC.

                       d.     Notify the coordinator of the Victim Services Team who shall
                              contact the victim(s) and inform them of the court’s issuance
                              of the Order Setting Execution Date.

                       e.     Notify the appropriate       government     officials   and   law
                              enforcement officials.

                                                                                      Exhibit 1
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             2.       Director of Corrections

                      a.    Select the time of the execution and provide notice to the
                            Oklahoma Court of Criminal Appeals.

                      b.    Under exigent circumstances, the director shall have the
                            authority to change the timeframes established in this
                            procedure.

             3.       Warden of OSP or MBCC

                      a.    Coordinate the monitoring and evaluation of offender activity
                            at their facilities for any activity related to the execution or its
                            impact on the facility operation.

                      b.    Direct the offender to complete the “35-Day Notification
                            Packet” (Attachments F-1 thru F-5, attached (links in the
                            reference section) and return it to the warden no later than
                            30 days prior to the scheduled execution date.

                      c.    Notify the offender that minors are prohibited from
                            witnessing the execution pursuant to Oklahoma State
                            Statute Title 22, Section 1015.

                      d.    Notify the offender’s family members as indicated by the
                            offender.

                      e.    Notify the offender that requests for ODOC or contract staff
                            to attend the execution shall be denied.

                      f.    Notify the offender that requests for other offenders to attend
                            the execution shall be denied.

                      g.    Notify the offender to review and update as necessary DOC
                            030120B entitled “Designation for Disposition of Property.”
                            The warden shall direct the offender to provide any changes
                            no later than 14 days prior to the execution. If the offender
                            does not provide instruction, the property and accounts shall
                            be disposed of in accordance with OP-030120 entitled
                            “Offender Property.”

                      h.    Advise the offender that his/her body shall not be used for
                            organ donation.

                      i.    Summarize the options available with the offender for
                            release and disposition of his/her body.
                                                                                      Exhibit 1
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                             1.    The warden shall direct the offender to review the
                                   previously completed “Release of Remains and Burial
                                   Arrangements” form (Attachment C, attached) and
                                   update as necessary no later than 14 days prior to the
                                   execution.

                             2.    If the offender provides no instruction or the
                                   information is insufficient or incorrect, the deceased
                                   shall be disposed of in accordance with OP-140111
                                   entitled “Offender Death, Injury and Illness Notification
                                   and Procedures.”

                      j.     Summarize the options available to the offender for the
                             release of medical information in accordance with HIPAA
                             regulations.

                      k.     Advise the offender he/she may request a last meal by
                             completing the “Last Meal Request” (Attachment F-5,
                             attached). Reasonable effort shall be made to accommodate
                             the request which shall not exceed $25.00.

      B.      Thirty-Five (35) Days Prior to the Day of Execution

              1.      Facility

                      a.     The warden or designee shall confirm in writing to the
                             associate director of Field Operations that the following
                             steps have been completed:

                             (1)   Warrant has been read to the offender.

                             (2)   An outline was provided to the offender how
                                   conditions of confinement shall be modified over the
                                   next 35 days with a brief description of the relevant
                                   aspects of the execution process. (Attachments F-1
                                   thru F-5)

                             (3)   The offender’s medical condition shall be assessed in
                                   order to identify any necessary accommodations or
                                   contingencies that may arise from the offender’s
                                   medical condition or history.

                                   (a)    Any medical condition or history that may affect
                                          the performance of the execution shall be
                                          communicated as soon as possible through the
                                                                                    Exhibit 1
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                                    chain of command to the director, who shall
                                    confer with others as necessary to plan such
                                    accommodations or contingencies.

                             (b)    The facts of the assessment and any
                                    conclusions shall be documented in the
                                    offender’s healthcare record.

                       (4)   Any concerns for establishing or maintaining IV lines
                             and any concerns or plans for medical
                             accommodations       or    contingencies  shall    be
                             communicated to the Special Operations Team in
                             order that they may be discussed and addressed in
                             execution trainings or rehearsals.

                       (5)   An appropriate member of the mental health staff
                             shall evaluate the offender approximately thirty-five
                             (35) days prior to the execution to evaluate his or her
                             stability and mental health in light of the scheduled
                             execution.

                             (a)    Any concerns or contingencies affecting the
                                    execution process shall be communicated
                                    through the chain of command to the director
                                    as soon as possible and documented in the
                                    offender’s healthcare record.

                             (b)    The director shall order the warden to notify the
                                    appropriate district attorney and the attorney
                                    general of any concerns or contingencies.

                       (6)   Transfer the offender to the appropriate cell on Death
                             Row at OSP (or MBCC when the offender is female).
                             Before transferring the offender into the cell, the
                             offender shall be strip searched, x-rayed, screened on
                             the calibrated BOSS Chair and then issued a new set
                             of clothes and shoes to wear.

                       (7)   The assigned cell shall be thoroughly searched prior
                             to placing the offender in the cell.

                       (8)   Place the offender on 24-hour continuous observation
                             and post staff to the offender’s cell to maintain visual
                             contact with the offender.
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                            (9)    Establish an observation log to chronicle staff’s
                                   observations of the offender’s activities and behavior
                                   until the sentence of death is imposed or a stay of
                                   execution is issued.

                            (10)   The shift commander shall be responsible for
                                   ensuring the information recorded in the observation
                                   logs includes, but is not limited to:

                                   (a)   All statements or behaviors that could be
                                         detrimental to completing an execution;

                                   (b)   All meals provided to the offender and what
                                         portions of the meals the offender consumed or
                                         refused;

                                   (c)   All medications provided to the offender and
                                         the observations made by staff as to whether
                                         the offender ingested the medication as
                                         prescribed; and

                                   (d)   All liquids consumed by the offender.

                            (11)   The warden shall be responsible for reviewing
                                   observation logs once every twenty-four hour period,
                                   excluding weekends and holidays.

                            (12)   The warden will communicate any significant changes
                                   in the offender’s medical and/or mental health to the
                                   health services administrator.

                            (13)   In the instance where the offender is female, the 35
                                   day protocols shall be implemented with the offender
                                   housed at MBCC.

                      b.    Conditions of Confinement

                            (1)    The warden shall:

                                   (a)   Ensure none of the offender’s personal
                                         property is transferred with the offender, except
                                         as provided in this section;

                                   (b)   Have the offender’s personal property
                                         inventoried in his/her presence before the

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                                        transfer of cells occurs and then have it boxed,
                                        sealed and removed from the cell;

                                  (c)   Store the offender’s property pending receipt of
                                        written instruction by the offender regarding
                                        disposition of property, or otherwise dispose of
                                        the property as outlined in OP-030120 entitled
                                        “Offender Property;”

                                  (d)   Allow the offender to keep in the cell one (1)
                                        cubic foot each of legal and religious materials,
                                        a safety ink pen, paper, a book or periodical,
                                        family photographs and correspondence from
                                        family members;

                                  (e)   Issue the offender a new mattress, pillow and
                                        bedding;

                                  (f)   Provide the offender limited hygiene supplies,
                                        including a towel and washcloth and exchange
                                        these items on a daily basis;

                                  (g)   Ten calendar days after being placed on
                                        continuous observation, the warden may
                                        approve weekly canteen purchases of no more
                                        than $20.00 based on the offender’s behavior;

                                  (h)   Ensure all offender medications are unit-dosed
                                        and issued in liquid form, when available. None
                                        of the offender’s medication, including over-
                                        the-counter medications, shall be dispensed or
                                        maintained by the offender as keep-on-person
                                        (KOP);

                                  (i)   Ensure the offender has access to a ODOC
                                        television set that is secured inside the cell and
                                        does not have access to any other appliances;
                                        and

                                  (j)   Continue to provide outdoor exercise and
                                        showers, non-contact visits and phone calls
                                        per the current schedule for other death row
                                        offenders.

                      c.    State and Local Law Enforcement Briefing
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                            (1)    The warden of OSP shall ensure state and local law
                                   enforcement is periodically briefed and adequately
                                   prepared for the execution.

                      d.    Site Checks

                            (1)    All of the equipment necessary to the administration
                                   of the execution shall be available on site and in good
                                   working order including:

                                   (a)    Transportation vehicles;

                                   (b)    Communication devices with inter-operability
                                          capability and restricted frequencies;

                                   (c)    Climate control;

                                   (d)    Tool control;

                                   (e)    Safety equipment;

                                   (f)    Audio/Visual equipment;

                                   (g)    Utility infrastructure;

                                   (h)    Key control/locking devices; and

                                   (i)    Medical emergency response capability

             2.       Division Manager of West Institutions

                      a.    Identifies and assigns team leaders and members, with
                            documented approval by the director, and upon approval
                            shall activate the teams.

                      b.    Ensures preventative maintenance in H Unit occurs and that
                            an equipment inventory is completed. If deficiencies are
                            noted, ensures appropriate and timely action is taken to
                            correct the deficiency.

                      c.    Directs the initiation of the continuous observation log
                            commencing 35 days prior to the day of the execution. The
                            log shall be maintained until the execution occurs or a stay
                            of execution is issued.


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                      d.    Activates the training schedule ensuring staff participating in
                            the execution receives adequate training, written instruction
                            and practice, all of which is documented.

              3.      Division Manager of Correctional Health Services

                      a.    Directs Health Services staff to conduct a medical records
                            file review to identify any prescribed medication(s) and
                            dosages the offender is currently or was recently taking.
                            Health Services staff provider shall modify prescribed
                            medication as may be necessary.

                      b.    Directs Health Services staff to dispense all offender
                            medications in unit doses and in liquid form, when available.
                            No medication, including over-the-counter medication, shall
                            be provided or maintained by the offender as KOP.

                      c.    Ensures Health Services staff monitors the offender two
                            times per day for significant changes in his/her medical
                            and/or mental health. Reports findings immediately to the
                            division manager of East Institutions and the general
                            counsel.

              4.      Victim Services Office

                      a.    Identifies and advises victims of the crime for which the
                            offender has been sentenced to death of the issuance of the
                            Order Setting Execution Date and the scheduled date and
                            time of the execution.

      C.      Fourteen Days (14) Prior to the Day of Execution

              1.      Inspector General or Designee

                      a.    Finalizes arrangements with the State Medical Examiner for
                            the disposition of the body, security for the medical
                            examiner’s vehicle and the custodial transfer of the body.

                      b.    Obtains a body bag and tag from the Medical Examiner’s
                            office.

              2.      General Counsel

                      a.    Finalizes a list and documented approval of all witnesses for
                            the director’s review including official offender and victim

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                             witnesses through coordination with the offices of Victim
                             Services.

                      b.     Upon documented approval, the director or designee shall
                             prepare a written invitation to each chosen witness.

                      c.     Sends the completed list of approved witnesses to the
                             warden of OSP.

      D.      Two Days (2) Prior to the Day of Execution

              1.      Division Manager of West Institutions

                      a.     Schedules and conducts on-site scenario training sessions,
                             modifying practices as warranted.

                      b.     Confirms adequate staffing and vehicles are in place for
                             regular operations and the execution.

              2.      Warden of OSP

                      a.     Confirms staff assigned to the Maintenance Response Team
                             (MRT) are scheduled and shall be on-site eight (8) hours
                             prior to the time scheduled for imposition of sentence.

                      b.     Restricts access to H Unit to those with expressly assigned
                             duties.

                      c.     Verifies execution inventory and equipment checks are
                             completed and open issues resolved in accordance with
                             established protocols.

      E.      Twenty-Four (24) Hours Prior to the Day of Execution

              1.      Final preparation of the execution area is completed. Each room
                      receives final evaluation specific to its functions including security,
                      climate control, lighting, sound, sanitation, and ensures that
                      separation screens and appropriate restraints are ready.

              2.      Detailed staff briefings detailing operational changes, security and
                      intelligence information as well as protocol and checklist
                      requirements are provided to facility staff through shift briefings,
                      staff meetings, etc.

              3.      The offender’s telephone privileges shall be terminated at 2100
                      hours the day prior to the execution, excluding calls from the
                                                                                      Exhibit 1
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                      offender’s attorney of record and others as approved by the division
                      manager of West Institutions.

              4.      The offender’s visitation privileges shall be terminated at 2100
                      hours the day prior to the execution. The offender shall be
                      permitted two hours of in-person visitation with no more than two
                      attorneys of record, concluding two hours prior to the scheduled
                      execution or earlier if necessary to begin preparing the offender for
                      the execution.

              5.      The warden of OSP shall ensure the offender receives the last
                      meal as requested in accordance with procedures. Every
                      reasonable effort to accommodate the last meal request shall be
                      made. All eating utensils and remaining food and beverage shall be
                      removed upon completion of the meal.

              6.      The Traffic Control Team shall confer with state and local law
                      enforcement agencies, establish check points and parameters for
                      traffic control, and formulate inter-agency emergency response
                      strategies. The team shall also coordinate the ingress/egress for
                      ODOC and contract staff and other persons whose attendance is
                      necessary. This process shall continue through the conclusion of
                      the execution process.

      F.      Twelve Hours (12) Prior To and Through the Execution

              1.      Restricting Access to Institution Property

                      a.     During the final 12 hours prior to the execution, access to the
                             Oklahoma State Penitentiary is limited to:

                             1.     On-duty personnel;

                             2.     On-duty contract workers;

                             3.     Volunteers deemed necessary by the warden;

                             4.     Law enforcement personnel on business-related
                                    matters; and

                             5.     Approved witnesses.

                      b.     Restriction to the facility shall remain in effect until normal
                             operations are resumed after the execution or stay of
                             execution is issued.
                                                                                    Exhibit 1
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                      c.    Any non-execution related visitation sessions or special
                            visits shall be cancelled.

                      d.    Approved witnesses are gathered and separated into pre-
                            determined staging areas.

                            (1)   One Witness Escort Team is assigned to escort and
                                  assist pre-approved officials, victims, news media
                                  witnesses and offender’s witnesses.

                            (2)   Witness Escort Teams shall remain with the assigned
                                  witnesses within established areas.

                            (3)   The Victim Services Team coordinator shall meet with
                                  the victim(s) in the staging area and shall remain
                                  available to them throughout the process. The team
                                  shall provide support and advocacy as appropriate.

             2.       News Media Access

                      a.    Reasonable efforts shall be made to accommodate the
                            representatives of the news media before, during, and after
                            a scheduled execution; however, the ODOC reserves the
                            right to regulate media access to ensure the orderly and safe
                            operations of its facility.

                      b.    The Communications Office shall coordinate the release of
                            information to news media outlets. All ODOC and contract
                            staff is expressly prohibited from providing information not
                            readily available in the public domain.

                      c.    News media witnesses to the execution shall be limited to
                            five representatives.

                            (1)   One seat will be given to a local media representative
                                  in the market where the crime was committed.

                            (2)   One seat will be given to the associated press.

                            (3)   Three seats will be chosen from the remaining media
                                  representatives with preference given to Oklahoma-
                                  based media.

                      d.    If more than one media representative meets criteria for the
                            available seats, a lottery or lotteries shall be held.

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                      e.    The public information officer shall provide general
                            information regarding the execution and the offender.

                      f.    News media witnesses shall return to the Media Room after
                            the execution to answer questions of all other media
                            representatives concerning their observations during the
                            execution, prior to filing or reporting their story.

             3.       Offender Preparation and Observation Log

                      a.    The offender shall be escorted to medical to receive a full
                            body x-ray.

                      b.    All property in the assigned cell shall be removed and the
                            cell thoroughly searched prior to the return of the offender
                            from medical.

                      c.    The offender shall be strip-searched and screened on the
                            calibrated BOSS Chair before placement in the cell.

                      d.    The offender shall be issued one pair each of pants, shirt,
                            underwear and socks on the morning of the execution.

                      e.    The cell shall be furnished with a mattress, pillow and
                            pillowcase, one each top and bottom sheet, blanket, wash
                            cloth, towel, and toilet paper.

                      f.    The offender may have a safety ink pen and paper, religious
                            items, a book or periodical and indigent-sized hygiene
                            supplies (liquid soap, toothpaste) and a toothbrush and
                            comb. These items may be made available only for the
                            duration of the use and shall be removed immediately
                            thereafter. Any other requested property shall require
                            approval by the warden and shall be documented.

                      g.    The Restraint Team shall take custody of the offender and
                            the observation log. The Restraint Team members shall
                            assume maintenance of the log until the execution is
                            completed or a stay of execution is issued.

                      h.    The offender shall remain on continuous watch. The
                            Restraint Team members shall record observations and
                            make entries every 15 minutes, or as incidents occur, in the
                            observation log during the final four hours.

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                      i.    The warden will ensure the assigned cell is preserved and
                            secured immediately after the offender is moved to the
                            execution chamber. Entry will be limited to preservation of
                            mission only and will be released by the inspector general
                            once the execution is completed or a stay of execution is
                            issued.

                      j.    The offender may be offered a mild sedative.

                      k.    No later than four hours prior to the execution the offender
                            may be offered an additional mild sedative.

                      l.    These time frames may be adjusted as necessary in the
                            event of a stay of execution or other exigencies.

             4.       Notification to Proceed With Execution

                      a.    Prior to moving the offender from the holding cell to the
                            execution table, the director shall confer with the attorney
                            general or designee and the governor or designee to confirm
                            there is no legal impediment to proceeding with the lawful
                            execution.

                      b.    The H Unit Section chief shall direct the Restraint Team to
                            prepare and escort the offender into the execution chamber.

                      c.    The Restraint Team shall secure the offender on the
                            execution table.

             5.       IV Site(s) Preparation and Establishment

                      a.    The IV Team shall enter the Execution Room to prepare and
                            insert a primary IV catheter and a backup IV catheter. The
                            arm veins near the joint between the upper and lower arm
                            shall be utilized as the preferred site for the IV injection.

                      b.    The director, acting upon the advice of the IV Team leader,
                            shall determine the catheter sites.

                      c.    In the event that the IV Team is unable to establish an IV at
                            a preferred site, the member(s) may establish an IV at an
                            alternative site(s), including a central line, for use by the
                            Special Operations Team when administering execution
                            drugs.

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                      d.    The IV Team may utilize a non-invasive device to assist in
                            locating a vein.

                      e.    The IV Team shall be allowed as much time as is necessary
                            to establish a viable IV site(s).

                      f.    If the IV Team is unable to establish viable IV sites(s) the
                            member(s) shall consult with the director.

                      g.    The director shall consult with others as necessary for the
                            purpose of determining whether or how long to continue
                            efforts to establish viable IV sites(s).

                      h.    After one hour of unsuccessful IV attempts, the director shall
                            contact the governor or designee to advise of the status and
                            potentially request a postponement of the execution.

                      i.    A central line shall not be used unless the person placing the
                            line is qualified to place a central line.

             6.       Confirming and Recording Establishment of IV Sites(s)

                      a.    An IV Team member shall test the viability of the IV site with
                            a low-pressure saline drip through IV tubing. If necessary, a
                            heparin lock may be attached to the IV needle as an
                            alternative to the saline drip.

                      b.    The H Unit Section chief and IV Team leader shall both
                            confirm the visibility of the IV sites.

                      c.    The H Unit Section Team Recorder shall document in the
                            Correctional Service Log the number of attempts to establish
                            an IV site.

             7.       Using Alternative IV Sites

                      a.    The H Unit Section Team chief shall observe the offender
                            during the injection process to look for signs of swelling or
                            infiltration at the IV site, blood in the catheter, and leakage
                            from the lines and other unusual signs or symptoms.

                      b.    The H Unit Section Team chief shall determine whether it is
                            necessary to use an alternate IV site.

                      c.    Whenever it is necessary to use alternate IV sites, the
                            Special Operation Team shall administer a full dosage of the
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                            execution drugs through the alternate site, using additional
                            syringes as necessary, prepared in accordance with the
                            terms of this procedure.

                      d.    In the event the H Unit Section Team chief changes to
                            another IV site, the Special Operation Team recorder shall
                            capture that information on the Correctional Service Log.

             8.       Proceeding with the Execution

                      a.    When the offender is secured on the execution table by the
                            Restraint Team and readied by the IV Team, the H Unit
                            Section Team chief shall advise the director and order the
                            witnesses to their respective seating.

                      b.    The director shall reconfirm with the attorney general or
                            designee and the governor or designee that there is no legal
                            impediment to proceeding. Upon oral confirmation that there
                            are no legal impediments to proceeding with the execution,
                            the director shall order the H Unit Section chief to proceed
                            with the execution.

                            (1)   If there is a legal impediment the director shall instruct
                                  the H Unit Section chief to stop the execution and to
                                  notify the offender witnesses that the execution has
                                  been stayed or delayed. The H Unit Section chief
                                  shall also notify the Command Team to notify the
                                  agency’s public information officer in the Media
                                  Room.

                      c.    The H Unit Section chief shall read aloud a summary of the
                            Warrant of Execution.

                      d.    The H Unit Section chief shall ask the offender if he wishes
                            to make a last statement that is reasonable in length and
                            does not contain vulgar language or intentionally offensive
                            statements directed at the witnesses. The microphone shall
                            remain on during the last statement, after which time it shall
                            be turned off. The microphone may be turned off earlier in
                            the event the offender uses vulgarity or makes intentionally
                            offensive statements.


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                      e.     The director shall instruct the disbursement of chemicals to
                             begin in accordance with Attachment D entitled “Preparation
                             and Administration of Chemicals.”

      G.      Pronouncement and Documentation of Death

              1.      The director or designee shall announce death has occurred.

              2.      The H Unit Section chief shall complete and sign the return of the
                      Death Warrant. The H Unit Section chief is also responsible for
                      coordinating with the general counsel’s office for the filing of the
                      document with the sentencing court and the Oklahoma Court of
                      Criminal Appeals within five business days.

              3.      The State Medical Examiner’s Office shall be given custody of the
                      body in order to issue a Certificate of Death.

      H.      Stay of Execution

              1.      Upon receipt of notification that the court and/or governor has
                      issued a Stay of Execution, the director shall advise the Command
                      Team.

              2.      Upon receipt of the notification, the H Unit Section chief shall:

                      a.     Instruct the Special Operations Team to stand down.

                      b.     Direct the Restraint Team to remove the offender from the
                             chamber and return to the assigned cell if the stay of
                             execution is less than 35 days.

                             (1)    Prior to moving the offender back to the assigned cell,
                                    the inspector general shall release the cell.

                             (2)    The assigned cell shall be thoroughly searched prior
                                    to placing the offender in the cell.

                      c.     Advise the witnesses a Stay of Execution has been issued.

                      d.     The Command Team shall inform the following teams of the
                             Stay of Execution:

                             (1)    Traffic Control Team Leader.

                             (2)    Critical Incident Management Team Leader.

                             (3)    Communications Director.
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                            (4)    Victim Services Coordinator.

                            (5)    Escort Team Leader.

                      e.    The Traffic Control Team leader shall notify any protestors of
                            the issuance of the Stay of Execution.

      I.      Post Execution/Stay of Execution

              1.      The Witness Escort Teams shall commence escorting witness
                      groups from H Unit in the prescribed order from the facility.

              2.      Each group of witnesses shall continue to be kept separated from
                      the other groups at all times.

              3.      News media witnesses shall return to the Media Room to
                      participate in the media briefing.

              4.      Victim witnesses speaking with the media shall be escorted to the
                      Media Room.

              5.      Media may remain on site in a designated location outside the
                      secure perimeter for a limited time to complete live broadcasts.

              6.      The Victim Services team leader ensures the victim(s) receives
                      follow up phone calls and support.

      J.      Site Clean Up and Recording of Execution Drugs

              1.      In accordance with OP-040109 entitled “Control of Contraband and
                      Physical Evidence,” the Special Operations Team leader shall
                      properly dispose of any execution drugs that have not been utilized.
                      The drugs will be inventoried on the form entitled “Oklahoma State
                      Bureau of Investigation Inventory of Drugs Submitted for
                      Destruction”    (www.ok.gov/osbi/documents/LABdestructForm.pdf)
                      and forwarded to the Oklahoma State Bureau of Investigation.

              2.      The warden of OSP shall witness the disposal of the unused
                      execution drugs and document the disposal in accordance with
                      procedure.

              3.      The Special Operations Team leader shall document the name,
                      description, expiration date, and lot number of all execution drugs
                      used.


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              4.      The Special Operations Team Leader shall save any packaging of
                      the used execution drugs or take photographs of such packaging of
                      items.

              5.      Under supervision of a person designated by the warden, the
                      execution room shall be cleaned and secured. Institutional staff
                      trained in infectious diseases preventive practices shall utilize
                      appropriate precautions.

      K.      Normal Operations

              1.      The Command Team shall determine when the prison shall resume
                      normal operations.

              2.      ODOC staff shall be deactivated at the direction of the Command
                      Team.

      L.      Execution Documentation

              1.      The division manager of West Institutions shall gather all
                      documents pertaining to the executions and forward to the general
                      counsel for archiving.

              2.      The division manager of West Institutions shall attach a copy of the
                      death warrant and forward it to the general counsel, who shall then
                      forward it to the court from which it was rendered, indicating the
                      time and mode and manner of which it was accomplished. Copies
                      of the report and log shall be sent to closed records department for
                      filing. MBCC shall receive a copy for females that are executed.

      M.      After-Action Review

              1.      Immediately following an execution, all of the Execution Teams and
                      the on-site administrators directly involved in the execution process
                      shall meet to review the process of the execution.

              2.      Any unique or unusual events shall be discussed, as well as
                      opportunities for improvement and successful procedures.

              3.      Actions and documentation of the events shall be reviewed to
                      identify any discrepancies.

              4.       The review should serve as an opportunity for all involved
                      personnel  to    voice their opinions,   concerns,   and/or
                      recommendations.

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                 5.     The review shall be formally documented and retained for future
                        reference.

        N.       Critical Incident Debriefing

                 1.     The Command Team shall ensure that critical incident debriefings
                        are available for the Execution Teams and staff participants
                        immediately following the execution.

                 2.     The Critical Incident Management Team shall conduct interviews in
                        accordance with Critical Incident Program guidelines.

VIII.   Quality Assurance Review

        The director shall designate the division manager for Field Support to evaluate
        the performance of the execution process and report findings to the director.

        a.       The division manager shall review documentation and training to ensure
                 compliance with the written procedure directive.

        b.       The division manager may utilize assistance as necessary to compile or
                 assess the information, and may consult with others consistent with the
                 confidentiality of the process.

        c.       Whenever appropriate, the division manager shall consult with a properly
                 trained medical person when reviewing the medical aspects of the
                 execution procedures.

        d.       The division manager shall provide consultation and advice concerning
                 modifications in the written directive.

        e.       The division manager shall prepare a report to the director following each
                 execution, with appropriate suggestions or recommendations as needed.

IX.     References

        Policy Statement No. P-040100 entitled “Security Standards for the Oklahoma
        Department of Corrections”

        OP-030120 entitled “Offender Property”

        OP-040109 entitled “Control of Contraband and Physical Evidence”

        OP-110215 entitled “Rules Concerning the Individual Conduct of Employees”

        OP-140111 entitled “Offender Deaths, Injury and Illness Notification and
        Procedures”
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       Robinson v. Maynard, 857 P.2d 817 (Okla. App. 1992)

       21 O.S. § 142A-14

       22 O.S. §1014 and 1015

X.     Action

       The wardens of Oklahoma State Penitentiary and Mabel Bassett Correctional
       Center are responsible for compliance with this procedure.

       The associate director of Field Operations is responsible for the annual review
       and revisions.

       Any exception to this procedure will require prior written approval from the
       director.

       This procedure is effective as indicated.

       Replaced:       Operations Memorandum No. OP-040301 entitled “Procedures of
                       the Execution of Offenders Sentenced to Death” dated September
                       30, 2014

       Distribution: Policy and Operations Manual
                     Agency Website




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Attachments            Title                                                   Location

Attachment A           “Notification Letter to Dignitaries/Law Enforcement     Attached
                       (sample)”

Attachment B           “Notification Letter to Offender Witnesses (sample)”    Attached

Attachment C           “Release of Remains and Burial Arrangements”            Attached

Attachment D           “Preparation and Administration of Chemicals”           Attached

Attachment E           “News Media Statement After an Execution”               Attached

Attachment F-1         “35 Day Information Packet”                             Attached

Attachment F-2         “Summary of Rules and Procedures”                       Attached

Attachment F-3         “Witnesses”                                             Attached

Attachment F-4         “Visitors”                                              Attached

Attachment F-5         “Last Meal”                                             Attached


Referenced Forms Title                                                         Location

DOC 030120B            “Designation for Disposition of Property”               OP-030120

DOC 090211B            “Oklahoma Department of Corrections Request for         OP-090211
                       Record”

OSBI Form               “OSBI Inventory of Drugs Submitted for Destruction Website Link
                       and/or Other Items in OSBI Custody for Destruction”
                       http://www.ok.gov/osbi/documents/LABdestructForm.pdf




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              PREPARATION AND ADMINISTRATION OF CHEMICALS

A.   Obtaining Chemicals and Equipment

     1.       Upon receipt of the Order Setting Execution Date, the H Unit Section Chief
              shall:

              a.     Confirm and ensure all equipment necessary to properly conduct
                     the procedure is on site, immediately available for use and
                     functioning properly.

              b.     Ensure     all   medical   equipment,     including   a    backup
                     electrocardiograph, is on site, immediately available for use and
                     functioning properly.

              c.     Ensure the chemicals are ordered, arrive as scheduled and are
                     properly stored. The chemicals shall be under the direct control of
                     the H Unit Section Chief and stored in a secured, locked area and
                     monitored to ensure compliance with manufacturer specifications.

B.   Preparation of Chemicals

     1.       At the appropriate time, the H Unit Section Chief shall transfer custody of
              the chemicals to the Special Operations Team to begin the chemical(s)
              and syringe preparation in the chemical room, under the direct supervision
              by the Intravenous (IV) Team leader.

     2.       The Special Operations Team leader shall assign a team member(s) to
              assist preparing each chemical and the corresponding syringe under the
              supervision of the IV Team leader. The IV Team leader, with the
              assistance of the Special Operations Team members, shall prepare the
              designated chemical and syringes for a total of one (1) complete set of
              chemicals. One (1) full set of syringes is used in the implementation of the
              death sentence and an additional complete set of the necessary
              chemicals shall be obtained and kept available in the chemical room.

     3.       The IV Team leader, with the assistance of a Special Operations Team
              member, shall be responsible for preparing and labeling the assigned
              sterile syringes in a distinctive manner. The specific chemical contained in
              each syringe will be identified with the following information as set forth in
              the chemical charts:

              a.     Assigned number

              b.     Chemical name

              c.     Chemical amount

              d.     Designated color

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             This information shall be pre-printed on a label, with one label affixed to
             each syringe to ensure the label remains visible.

C.   Chemical Charts

     1.      CHART A: One (1) Drug Protocol with Pentobarbital

                                         CHEMICAL CHART
              Syringe No.     Label
              1A              2.5 gm pentobarbital GREEN
              2A              2.5 gm pentobarbital GREEN
              3A              60 ml heparin/saline, BLACK

             a.    Syringes 1A and 2A shall each have a dose of 2.5 grams of
                   pentobarbital for a total of 5 grams. Each syringe containing
                   pentobarbital shall have a GREEN label which contains the name
                   of the chemical, chemical amount and the designated syringe
                   number.

             b.    Syringe 3A shall contain 60 milliliter of heparin/saline solution at a
                   concentration of 10 units of heparin per milliliter. The syringe shall
                   have a BLACK label which contains the name of the chemical,
                   chemical amount and the designated syringe number.

     2.      CHART B: One (1) Drug Protocol with Sodium Pentothal

                                       CHEMICAL CHART
              Syringe No.     Label
              1A              1.25 gm sodium pentothal, GREEN
              2A              1.25 gm sodium pentothal, GREEN
              3A              1.25 gm sodium pentothal, GREEN
              4A              1.25 gm sodium pentothal, GREEN
              5A              60 ml heparin/saline, BLACK

             a.    Syringes 1A, 2A, 3A, and 4A shall each contain 1.25 grams/50
                   milliliter of sodium pentothal in 50 milliliter of sterile water in four (4)
                   syringes for a total dose of 5 grams of sodium pentothal. Each
                   syringe containing sodium pentothal shall have a GREEN label
                   which contains the name of the chemical, the chemical amount and
                   the designated syringe number.

             b.    Syringe 5A shall contain 60 milliliter of heparin/saline solution at a
                   concentration of 10 units of heparin per milliliter. The syringe shall
                   have a BLACK label which contains the name of the chemical,
                   chemical amount and the designated syringe number.

     3.      CHART C: Reserved

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     4.      CHART D: Three (3) Drug Protocol with Midazolam, Vecuronium Bromide
             and Potassium Chloride

                                       CHEMICAL CHART
              Syringe No.     Label
              1A              250 mg midazolam, GREEN
              2A              250 mg midazolam, GREEN
              3A              60 ml heparin/saline, BLACK
              4A              50 mg vecuronium bromide, YELLOW
              5A              50 mg vecuronium bromide, YELLOW
              6A              60 ml heparin/saline, BLACK
              7A              120 mEq potassium chloride, RED
              8A              120 mEq potassium chloride, RED
              9A              60 ml heparin/saline, BLACK

             a.    Syringes 1A and 2A shall each have a dose of 250 milligrams
                   midazolam for a total dose of 500 milligrams. Each syringe
                   containing midazolam shall have a GREEN label which contains
                   the name of each chemical, the chemical amounts and the
                   designated syringe number.

             b.    Syringes 4A and 5A shall each have a dose of 50 milligrams
                   vecuronium bromide or 50 milligrams pancuronium bromide or 50
                   milligrams rocuronium bromide, for a total dose of 100 milligrams.
                   Each syringe containing the selected bromide shall have a
                   YELLOW label which contains the name of each chemical, the
                   chemical amounts and the designated syringe number.

             c.    Syringes 7A and 8A shall each contain 120 milliequivalents
                   potassium chloride for a total dose of 240 milliequivalents. Each
                   syringe containing potassium chloride shall have a RED label which
                   contains the name of each chemical, the chemical amounts and the
                   designated syringe number.

             d.    Syringes 3A, 6A, and 9A shall each contain 60 milliliter of
                   heparin/saline solution at a concentration of 10 units of heparin per
                   milliliter. Each syringe shall have a BLACK label which contains the
                   name of the chemical, chemical amount and the designated syringe
                   number.

D.   Choice of Chemicals

     1.      The director shall have the sole discretion as to which chemicals shall be
             used for the scheduled execution. This decision shall be provided to the
             offender in writing ten (10) calendar days prior to the scheduled execution
             date.

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2.    Any compounded drug used shall be obtained from a certified or licensed
      compounding pharmacist or compounding pharmacy in good standing with
      their licensing board. Licensing certification and criminal history reviews
      shall be conducted by the Inspector General’s office prior to obtaining the
      compounded drug. A qualitative analysis of the compounded drug to be
      used in the execution shall be performed no more than thirty (30) calendar
      days prior to the execution date. The decision to use compounded drugs
      shall be provided to the offender in writing no less than ten (10) calendar
      days prior to the scheduled execution.

3.    After the IV Team prepares all required syringes with the proper chemicals
      and labels as provided in the Chemical Chart, the IV Team leader shall
      attach one complete set of the prepared and labeled syringes to a 3-Gang,
      2-Way Manifold in the order in which the chemicals are to be
      administered. The syringes shall be attached to the 3-Gang, 2-Way
      Manifold in a manner to ensure there is no crowding, with each syringe
      resting in its corresponding place in the shadow board which is labeled
      with the name of the chemical, color, chemical amount and the designated
      syringe number.

4.    The syringes shall be affixed in such a manner to ensure the syringe
      labels are clearly visible. Prior to attaching the syringes to the 3-Gang, 2-
      Way Manifold, the flow of each gauge on the manifold shall be checked by
      the IV Team leader running the Heparin/Saline solution through the line to
      confirm there is no obstruction.

5.    After all syringes are prepared and affixed to the 3-Gang, 2-Way Manifold
      in proper order, the Special Operations Team leader shall confirm that all
      syringes are properly labeled and attached to the manifold in the order in
      which the chemicals are to be administered as designated by the
      Chemical Chart. Each chemical shall be administered in the
      predetermined order in which the syringes are affixed to the manifold.

6.    The quantities and types of chemicals prepared and administered may not
      be changed in any manner without prior documented approval of the
      director.

7.    All prepared chemicals shall be utilized or properly disposed of in a timely
      manner after the time designated for the execution to occur.

8.    The chemical amounts as set forth in the Chemical Chart are designated
      for the execution of persons weighing 500 pound or less. The chemical
      amounts shall be reviewed and may be revised as necessary for an
      offender exceeding this body weight.

9.    The Special Operations Team Recorder is responsible for completing the
      Correctional Service Log. The Recorder shall document on the form the
      amount of each chemical administered and confirm that it was

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             administered in the order set forth in the Chemical Chart. Any deviation
             from the written procedure shall be noted and explained on the form.

E.   Movement and Monitoring of Offender

     1.      Prior to moving the offender from the holding cell to the execution table,
             the director shall confer with the attorney general or designee and the
             governor or designee to confirm there is no legal impediment to
             proceeding with the lawful execution.

     2.      The offender may be offered a mild sedative based on the offender’s
             need. The sedative shall be provided to the offender no later than four (4)
             hours prior to the execution, unless it is determined medically necessary.

     3.      At the designated time, the offender shall be brought into the execution
             room and secured on the table by the prescribed means with the
             offender’s arms positioned at an angle away from the offender’s side.

     4.      The offender shall be positioned to enable the IV Team or the Special
             Operations Team leader and the H Unit Section Chief to directly observe
             the offender and/or to monitor the offender with the aid of a high resolution
             color camera and a high resolution color monitor.

     5.      After the offender has been secured to the execution table, the Restraint
             Team leader shall personally check the restraints which secure the
             offender to the table to ensure they are not so restrictive as to impede the
             offender’s circulation, yet sufficient to prevent the offender from
             manipulating the catheter and IV lines.

     6.      A microphone shall be affixed to the offender’s shirt to enable the IV
             Team, or the Special Operations Team leader, to hear any utterances or
             noises made by the offender throughout the procedure. The Special
             Operations Team leader shall confirm the microphone is functioning
             properly, and that the offender can be heard in the chemical room.

     7.      The Restraint Team members shall attach the leads from the
             electrocardiograph to the offender’s chest once the offender is secured.
             The IV Team leader shall confirm that the electrocardiograph is
             functioning properly. A backup electrocardiograph shall be on site and
             readily available if necessary. Prior to and on the day of the execution
             both electrocardiograph instruments shall be checked to confirm they are
             functioning properly.

     8.      An IV Team member shall be assigned to monitor the electrocardiograph
             at the commencement and completion of the administration of the
             chemicals.


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     9.       Throughout the procedure, the IV Team leader shall monitor the offender’s
              level of consciousness and electrocardiograph readings utilizing direct
              observation, audio equipment, camera and monitor as well as any other
              medically approved method(s) deemed necessary by the IV Team leader.
              The IV Team leader shall be responsible for monitoring the offender’s
              level of consciousness.

F.   Intravenous Lines

     1.       The director, acting upon the advice of the IV Team leader, shall
              determine the catheter sites. A central line shall only be used if the person
              inserting the line is qualified to insert a central line. The IV Team members
              shall insert a primary IV catheter and a backup IV catheter.

     2.       After one hour of unsuccessful IV attempts, the director shall contact the
              governor or designee to advise of the status and potentially request a
              postponement of the execution.

     3.       The IV Team leader shall ensure the catheters are properly secured and
              properly connected to the IV lines and out of reach of the offender’s
              hands. A flow of heparin/saline shall be started in each line and
              administered at a slow rate to keep the lines open.

     4.       The primary IV catheter shall be used to administer the chemicals and the
              backup catheter shall be reserved in the event of the failure of the first
              line. Any failure of a venous access line shall be immediately reported to
              the director.

     5.       The IV catheter in use shall remain visible to the H Unit Section Chief
              throughout the procedures.

     6.       The H Unit Section Chief shall physically remain in the room with the
              offender throughout the administration of the chemicals in a position
              sufficient to clearly observe the offender and the primary and backup IV
              sites for any potential problems and shall immediately notify the IV Team
              leader and director should any issue occur. Upon receipt of such
              notification, the director may stop the proceedings and take all steps
              necessary in consultation with the IV Team leader prior to proceeding
              further with the execution.

     7.       Should the use of the backup IV catheter be determined to be necessary,
              a set of backup chemicals should be administered in the backup IV site.

G.   Administration of Chemicals – Charts A and B

     1.       At the time the execution is to commence and prior to administering the
              chemicals, the director shall reconfirm with the attorney general or
              designee and the governor or designee that there is no legal impediment

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      to proceeding with the execution. Upon receipt of oral confirmation that
      there is no legal impediment, the director shall order the administration of
      the chemicals to begin.

2.    Upon receipt of the director’s order and under observation of the IV Team
      leader, the Special Operations Team leader shall instruct the assigned
      Special Operations Team member(s) to begin dispensing the chemicals in
      the order they appear in the corresponding chart.

3.    Upon direction from the Special Operations Team Leader, the assigned
      Special Operations Team member shall visually and orally confirm the
      chemical name on the syringe and then administer the full dose of the
      chemicals immediately followed by the heparin/saline flush.

4.    When five (5) minutes has elapsed since commencing the administration
      of the chemicals, the IV Team leader, dressed in a manner to preserve
      their anonymity, shall enter into the room where the section chief and
      offender are located to physically confirm the offender is unconscious by
      using all necessary and medically-appropriate methods. The IV Team
      leader shall also confirm that the IV line remains affixed and functioning
      properly.

5.    If, after five (5) minutes the offender remains conscious, the IV Team shall
      communicate this information to the director, along with all IV Team input.
      The director shall determine how to proceed or, if necessary, to start the
      procedure over at a later time or stop. The director may order the curtains
      to the witness viewing room be closed, and if necessary, for witnesses to
      be removed from the facility.

6.    If deemed appropriate, the director may instruct the Special Operations
      Team to administer additional doses of the chemical(s) followed by the
      heparin/saline flush.

7.    Upon administering the chemical(s) and heparin/saline from a backup set,
      the IV Team shall confirm the offender is unconscious by sight and sound,
      utilizing the audio equipment, camera and monitor. The IV Team leader
      shall again physically confirm the offender is unconscious using proper
      medical procedures and verbally advise the director of the same.

8.    When all electrical activity of the heart has ceased as shown by the
      electrocardiograph, the IV Team leader shall confirm the offender is
      deceased and the offender’s death shall be announced by the director.

9.    The Special Operations Team Recorder shall document on the
      Correctional Service Log the start and the ending times of the
      administration of the chemical(s).


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     10.      Throughout the entire procedure, the IV Team members, the Special
              Operations Team members and the H Unit Section Chief shall continually
              monitor the offender using all available means to ensure that the offender
              remains unconscious and that there are no complications.

H.   Administration of Chemicals – Chart D

     1.       At the time the execution is to commence and prior to administering the
              chemicals, the director shall reconfirm with the attorney general or
              designee and the governor or designee that there is no legal impediment
              to proceeding with the execution. Upon receipt of oral confirmation that
              there is no legal impediment, the director shall order the administration of
              the chemicals to begin.

     2.       Upon receipt of the director’s order and under observation of the IV Team
              leader, the Special Operations Team leader shall instruct the assigned
              Special Operations Team member(s) to begin dispensing the chemicals in
              syringe numbers 1A, 2A, and 3A.

     3.       Upon direction from the Special Operations Team Leader, the assigned
              Special Operations Team member shall visually and orally confirm the
              chemical name on the syringe and then administer the full dose of the
              chemicals in syringe numbers 1A, 2A, and 3A.

     4.       When five (5) minutes has elapsed since commencing the administration
              of the first chemical, the IV Team leader, dressed in a manner to preserve
              their anonymity, shall enter into the room where the section chief and
              offender are located to physically confirm the offender is unconscious by
              using all necessary and medically-appropriate methods. The IV Team
              leader shall also confirm that the IV line remains affixed and functioning
              properly.

     5.       If confirmed the offender is unconscious, an announcement will be made
              and the director will order the remaining chemicals be dispensed in the
              order they appear in the chart.

     6.       Upon direction from the Special Operations Team Leader, the assigned
              Special Operations Team member shall visually and orally confirm the
              chemical name on the syringe and then administer the full dose of the
              remaining chemicals in the order they appear in the chart.

     7.       If the offender remains conscious after five (5) minutes, the IV Team shall
              communicate this information to the director, along with all IV Team input.
              The director shall determine how to proceed or, if necessary, to start the
              procedure over at a later time or stop the execution. The director may
              order the curtains to the witness viewing room be closed, and if
              necessary, for witnesses to be removed from the facility.

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     8.      If deemed appropriate, the director may instruct the Special Operations
             Team to administer additional doses of the chemical(s) followed by the
             heparin/saline flush.

     9.      Upon administering the chemical(s) and heparin/saline from a backup set,
             the IV Team shall confirm the offender is unconscious by sight and sound,
             utilizing the audio equipment, camera and monitor. The IV Team leader
             shall again physically confirm the offender is unconscious using proper
             medical procedures and verbally advise the director of the same.

     10.     When all electrical activity of the heart has ceased as shown by the
             electrocardiograph, the IV Team leader shall confirm the offender is
             deceased and the offender’s death shall be announced by the director.

     11.     The Special Operations Team Recorder shall document on the
             Correctional Service Log the start and the ending times of the
             administration of the chemical(s).

     12.     Throughout the entire procedure, the IV Team members, the Special
             Operations Team members and the H Unit Section Chief shall continually
             monitor the offender using all available means to ensure that the offender
             remains unconscious and that there are no complications.

I.   Post Execution Procedures

     1.      Upon the pronouncement of death, the director shall notify the governor or
             designee and the attorney general or designee via telephone that the
             sentence has been carried out and the time that death occurred.

     2.      An IV Team member shall clamp and cut the IV lines leaving them
             connected to the offender for examination by a medical examiner.

     3.      An investigator with the Inspector General’s office and a medical examiner
             shall take photos of the offender’s body:

             a.    While in restraints prior to being placed in the body bag;

             b.    Without restraints prior to being placed in the body bag;

             c.    Sealed in the body bag; and

             d.    A photo of the seal in place on the bag.

     4.      The offender’s body shall be placed on a medical examiner’s gurney and
             released into the custody of a medical examiner’s office.

     5.      Once the offender’s body is placed in a medical examiner’s transport
             vehicle, it shall be escorted off the premises. The examiner’s office shall

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              take the offender’s body to the medical examiner’s office designated by
              the county.

J.   Documentation of Stay Prior to Execution

     1.       In the event that a pending stay results in more than a two (2) hour delay,
              the catheters shall be removed, if applicable, and the offender shall be
              returned to the holding cell until further notice.

     2.       The Correctional Service Log and the list of identifiers shall be submitted
              to the general counsel for review and storage.

K.   Contingency Procedure

     1.       An Automated External Defibrillator (AED) shall be readily available on
              site in the event that the offender goes into cardiac arrest at any time prior
              to dispensing the chemicals. Trained medical staff shall make every effort
              to revive the offender should this occur.

     2.       Trained medical personnel and emergency transportation, neither of which
              is involved in the execution process, shall be available in proximity to
              respond should any medical emergency arise.

     3.       If at any point any team member determines that any part of the execution
              process is not going according to procedure, they shall advise the IV
              Team leader who shall immediately notify the director. The director may
              consult with persons deemed appropriate and shall determine to go
              forward with the procedure, start the procedure over at a later time within
              the twenty-four (24) hour day, or stop the execution.

     4.       There shall be no deviation from the procedures as set forth herein,
              without prior consent from the director.

L.   Debrief and Policy Review

     1.       The IV and Special Operations Teams shall participate in an informal
              debriefing immediately upon completion of the event.

     2.       Upon an assignment to a team, team members shall review OP-040301
              entitled “Execution of Offenders Sentenced to Death.”

     3.       Periodically, and in the discretion of the director, a review of OP-040301
              entitled “Execution of Offenders Sentenced to Death,” along with this
              attachment may be reviewed to confirm it remains consistent with the law.
              The general counsel shall advise the director immediately upon any
              change that may impact these procedures.

                                                                             (R 6/15)


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